Case 1:14-cv-00191-SLR Document 15 Filed 05/30/14 Page 1 of 2 PageID #: 83




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

-------------------------------------------------------------------X
SAPPHIRE DOLPHIN LLC,

                                            Plaintiff,

                          v.                                           C.A. No. 14-191-SLR

JWIN ELECTRONICS CORP. d/b/a iLUV CREATIVE
TECHNOLOGY,

                                             Defendant.
-------------------------------------------------------------------X

                       STIPULATION OF DISMISSAL WITH PREJUDICE

        IT IS HEREBY STIPULATED, ORDERED AND AGREED, by the between the

attorneys for the parties in the above-entitled case that, pursuant to Rule 41 of the Federal Rules

of Civil Procedure, the above-entitled action is hereby dismissed with prejudice as to any and all

claims arising from the Licensed Units encompassed by that certain Settlement and License

Agreement entered into between the parties on or about May 20, 2014, and without prejudice as

to any other units, without costs or attorneys’ fees to plaintiff or defendant. This stipulation may

be executed in counterparts and a facsimile shall be as good as an original.




                                                         1
Case 1:14-cv-00191-SLR Document 15 Filed 05/30/14 Page 2 of 2 PageID #: 84




BAYARD, P.A.                                       RICHARDS, LAYTON & FINGER, P.A.

/s/ Stephen B. Brauerman                           /s/ Frederick L. Cotrell III
Richard D. Kirk (rk0922)                           Frederick L. Cotrell III (No. 2555)
Stephen B. Brauerman (sb4952)                      Christine D. Haynes (No. 4697)
Vanessa R. Tiradentes (vt5398)                     One Rodney Square
Sara E. Bussiere (sb5725)                          920 North King Street
222 Delaware Avenue, Suite 900                     Wilmington, DE 19801
P.O. Box 25130                                     (302) 651-7700
Wilmington, DE 19899                               cottrell@rlf.com
(302) 655-5000                                     haynes@rlf.com
rkirk@bayardlaw.com
sbrauerman@bayardlaw.com                           Attorneys for Defendant jWIN Electronics
vtiradentes@bayardlaw.com                          Corp. d/b/a iLuv Creative Technology
sbussiere@bayardlaw.com

Attorneys for Plaintiff Sapphire Dolphin LLC

Dated: May 30, 2014



IT IS SO ORDERED this _____ day of May, 2014

                                                             ________________________
                                                             U.S.D.J.




                                               2
